Case 1:18-cv-00950-LO-JFA Document 52 Filed 12/03/18 Page 1 of 1 PageID# 542



                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                                Alexandria Division

 Sony Music Entertainment, et al,
                           Plaintiff,
                                                                l:I8cv950-LO-JFA

Cox Communications, Inc.,
                           Defendant.


                                                     ORDER

         A Fed. R. Civ. P. i6(b) PRETRIAL CONFERENCE will be held on Wednesday, December 19.
2018 at 11:00 a.m. before a magistratejudge. The parties shall confer before this conference to consider the
claims,defenses, possibilities ofa prompt settlement or resolution ofthe case,trial before a magistratejudge,
to arrange for the disclosures required by Rule26(a)(l),and to develop a discovery plan which will complete
discovery by Friday, June 14, 2019. A party may not exceed five (5) non-party, non-expert witness
depositions and may not serve on any other party more than thirty(30)interrogatories, including parts and
subparts, without leave ofcourt. Proposed discovery plans must be fi led by the Wednesday one week before
the Rule 16(b) pretrial conference.

         Any party required to file an answer must do so within twenty(20)days.
         The FINAL PRETRIAL CONFERENCE will be held on Friday, June 21. 2019
at 1:30 p.m.                                                                             '

         The parties must electronically file on or before the final pretrial conference the Rule 26(a)(3)
disclosures and a list ofthe exhibits to be used at trial, a list ofthe witnesses to be called at trial and a written
stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged with opposing
counsel before the conference. Objections to exhibits must be filed within 10 days after the conference;
otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be delivered to the clerk
as provided by Local Rule 79(A). Non-expert witnesses and exhihifs nnt so disclosed and listed will not hp
permitted at trial except for impeachment or rebuttal, and no person mav testilV who.se iHentitv. heintr snhfpr.T
to disclosure or timely requested in discoverv. was not disclosed in time to he denospd or to nermit the
substance of his knowledge and opinions to be ascertained. The trial of this case will be set for a day
certain, within 4-8 weeks ofthe final pretrial conference.

        Discovery may begin as of receipt of this Order.

        PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL PUBLICLY FILED
PLEADINGS AND EXHIBITS IN ACCORDANCE WITH LOCAL RULE 7©).



Alexandria, Virginia                                           Liam O Grady                  ^
December 3,2018                                                United Stales District Juc
